DECLARATION OF DAVID WROBEL

COUNTY OF CLEVELAND )
) SS.
STATE OF OKLAHOMA )

1. My name is David Wrobel. I am the Dean of the University of Oklahoma
College of Arts & Sciences. I have been a professor at the University of Oklahoma since
2011. I was appointed as Interim Dean of the College of Arts & Sciences in 2017 and was
appointed permanent Dean in June 2018. I am over the age of eighteen years of age. 1 am
personally knowledgeable of the facts contained herein.

2. I have reviewed the allegations made by an anonymous declarant which was
filed in case number 21-CV-1022-G and attached as Exhibit 2 to Plaintiffs’ Consolidated
Reply in Support of Their Motion for a Preliminary Injunction [Doc 66]. In the declaration,
the witness alleges that he or she, “was informed by my Department Chair that the Office
of the Dean of the Arts and Sciences College had instructed them that, because of H.B.
1775, I can no longer test students on Critical Race Theory in my Human Relations class,
Human Relations Theory, a class in the Human Relations Department about social
categorization and its impact on systems of power.

3. I categorically deny that I ever advised the Chair of the Department of
Human Relations that professors within that department (or in any department, for that
matter) could not teach or test on the topic of Critical Race Theory. I deny that I enforced

any of the terms of H.B. 1775 against any faculty under my supervision. The decision of

EXHIBIT
i

what to teach and the topics over which the professors test are wholly within the discretion
of the professors in accordance with the concept of Academic Freedom.

FURTHER THE AFFIANT SAYS NOT

J Yeu! NS.ud

Dr. David Wrobel
Dean of the University of Oklahoma
Dodge Family College of Arts & Sciences

Sworn to and subscribed before me, the undersigned Notary Public on this 23rd
day of October 2023.

YI

Nétary Public

My commission expires:

sOmite OFFICIAL SEAL

feean PUBLIC CODY PILGREEN
O, amex Commission # 19001091
TLawO™ — Expires January 31, 2027

